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15                           UNITED STATES DISTRICT COURT

16                         CENTRAL DISTRICT OF CALIFORNIA

17                                    WESTERN DIVISION

18                                                       Case No. 2:22-cv-04355-JFW-JEM
       Yuga Labs, Inc.,
19
                                                  DECLARATION OF DEREK
20                        Plaintiff and           GOSMA IN SUPPORT OF
21                        Counterclaim Defendant, DEFENDANTS’ JOINT
                                                  STIPULATION
           v.
22                                                       Magistrate Judge: Hon. John E. McDermott
       Ryder Ripps, Jeremy Cahen,                        Motion Hearing Date: March 21, 2023
23                                                       Motion Hearing Time: 10:00 AM
24                                                       Discovery Cutoff Date: April 3, 2023
                          Defendants and                 Pre-Trial Conference Date: June 9, 2023
25                        Counterclaim Plaintiffs.       Trial Date:    June 27, 2023

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       Case No. 2:22-cv-04355-JFW-JEM                         DECLARATION OF DEREK GOSMA
                                                            IN SUPPORT OF JOINT STIPULATION
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2     DECLARATION OF DEREK GOSMA IN SUPPORT OF MR. RIPPS AND MR. CAHEN’S
                             JOINT STIPULATION
3           I, Derek Gosma, declare as follows:
4           1.     I am an attorney with the law firm of Wilmer Cutler Pickering Hale and
5     Dorr LLP, located at 350 South Grand Avenue, Suite 2400, Los Angeles, California
6     90071, counsel for Defendants Ryder Ripps and Jeremy Cahen. I am licensed to
7     practice law in the State of California. I have personal knowledge of the facts set
8     forth herein and with the proceedings in this case, and if called to testify as a witness
9     thereto, I would do so competently under oath.
10          2.     A true and correct copy of the Court’s Scheduling and Case
11    Management Order (Dkt. 57) is attached as Exhibit 1.
12          3.     A true and correct copy of Plaintiff’s Complaint is attached as Exhibit 2.
13          4.     On September 6, 2022, Defendants served their First Set of Requests for
14    Production (Exhibit 3) and First set of Interrogatories (Exhibit 4). True and correct
15    copies of both documents are attached as Exhibit 3 and Exhibit 4.
16          5.     On October 6, 2022, Yuga served its Response to Defendants’ First Set
17    of Requests for Production (Exhibit 5) and its Response to Defendants’ First Set of
18    Interrogatories (Exhibit 6). True and correct copies of both documents are attached
19    as Exhibit 4 and Exhibit 5.
20          6.     Throughout this matter, Defendants have been professional in
21    communicating with Yuga regarding discovery in this matter. A true and correct
22    copy of all emails from November 18, 2022, to February 2, 2023, regarding Yuga’s
23    production deficiencies and the parties’ Local Rule 37-1 conference is attached as
24    Exhibit 7.
25          7.     On November 18, 2022, Defendants sent a letter to Yuga regarding
26    deficiencies in Yuga’s discovery responses and Yuga’s failure to produce non-
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       Case No. 2:22-cv-04355-JFW-JEM                     DECLARATION OF DEREK GOSMA
                                                        IN SUPPORT OF JOINT STIPULATION
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                                      #:4170



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      public documents in this matter. A true and correct copy of this letter is attached as
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      Exhibit 8.
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            8.      On December 1, 2022, Defendants sent a letter to Yuga summarizing the
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      November 28, 2022, conference regarding Yuga’s production deficiencies. A true
5
      and correct copy of this letter is attached as Exhibit 9.
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            9.      On December 15, 2022, Yuga sent a letter to Defendants responding to
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      the December 1, 2022, letter regarding Yuga’s production deficiencies. A true and
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      correct copy of this letter is attached as Exhibit 10.
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            10. On December 21, 2022, Yuga served its First Supplemental Response to
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      Defendants’ First Set of Interrogatories. A true and correct copy of this document is
11
      attached as Exhibit 11.
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            11. On December 31, 2022, Defendants sent a letter to Yuga regarding
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      Yuga’s discovery deficiencies. A true and correct copy of this letter is attached as
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      Exhibit 12.
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            12. On January 17, 2023, Yuga sent a letter to Defendant regarding
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      Defendants’ discovery requests. A true and correct copy of this letter is attached as
17
      Exhibit 13.
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            I declare under penalty of perjury under the laws of the United States of
19
      America that the foregoing is true and correct.
20
            Executed in California on February 14, 2023.
21
                                                      /s/ Derek Gosma
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                                                      Derek Gosma
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       Case No. 2:22-cv-04355-JFW-JEM                       DECLARATION OF DEREK GOSMA
                                                          IN SUPPORT OF JOINT STIPULATION
